     2:18-cv-03326-RMG          Date Filed 03/27/19    Entry Number 240       Page 1 of 3




                              UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

City of Beaufort, et al,                     )
                                             )
                    Plaintiffs,              )              No.: 2:18-cv-03326-RMG
                                                      (Consolidated with 2:18-cv-3327-RMG)
v.                                           )
                                             )
NATIONAL MARINE FISHERIES                    )        RULE 26(F) DISCOVERY PLAN OF
SERVICE, CHRIS OLIVER, in his official       )          THE STATE EX REL WILSON
capacity as the Assistant Administrator for  )
Fisheries, and WILBER ROSS, in his official )
capacity as the Secretary of                 )
                                             )
Commerce,
                                             )
                    Defendants.              )
                                             )
_____________________________________ )
                                             )
South Carolina Coastal Conservation League,
                                             )
et al,
                                             )
                    Plaintiffs,              )
                                             )
v.                                           )
Wilbur Ross, in his official capacity as the )
Secretary of Commerce; et al.,

                    Defendants.



        In accordance with Rule 26(f)(3), Fed.R.Civ.P., the State ex rel Wilson (State) hereby

submits the discovery plan set forth below.     The State’s understanding is that the Federal

Defendants take the position that this case is not subject to discovery as to the Administrative

Procedures Act claims, that the claims specific to the State are subject to dismissal and that

discovery should not be undertaken regarding the State’non-APA s claims until a ruling is made

regarding whether they should be dismissed. The State strongly disagrees that its claims are
     2:18-cv-03326-RMG          Date Filed 03/27/19        Entry Number 240       Page 2 of 3




subject to dismissal; however, the State does not believe that discovery will be needed as to its

claims.

          (A)   what changes should be made in the timing, form, or requirement for disclosures

under Rule 26(a), including a statement of when initial disclosures were made or will be made;

          RESPONSE: The State’s Initial Disclosures will be submitted to the parties at the
                    same time as this discovery plan. No changes are suggested.

          (B)   the subjects on which discovery may be needed, when discovery should be

completed, and whether discovery should be conducted in phases or be limited to or focused on

particular issues;

          RESPONSE: At this time, the State does not believe that discovery is needed.

          (C)   any issues about disclosure or discovery of electronically stored information,

including the form or forms in which it should be produced;

          RESPONSE: None, see above.

          (D)   any issues about claims of privilege or of protection as trial-preparation materials,

including – if the parties agree on a procedure to assert these claims after production – whether

to ask the court to include their agreement in an order;

          RESPONSE: None

          (E)   what changes should be made in the limitations on discovery imposed under these

rules or by local rule, and what other limitations should be imposed; and

          RESPONSE: The State is unaware of any changes to discovery needed at this time.

          (F)   any other orders that the court should issue under Rule 26(c) or under Rule 16(b)

and (c).

          RESPONSE: None now.

                                                      [Signature block on next page]
    2:18-cv-03326-RMG   Date Filed 03/27/19   Entry Number 240       Page 3 of 3




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March 27, 2019                            Counsel for the State ex rel Wilson
